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                                                              Thursday, 16 August, 2018 11:30:26 AM
                                                                        Clerk, U.S. District Court, ILCD

                     UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF ILLINOIS
                             URBANA DIVISION
____________________________________________________________________________

UNITED STATES OF AMERICA,                        )
                                                 )
                     Plaintiff,                  )
       v.                                        )      Case No. 17-CR-20037
                                                 )
BRENDT A. CHRISTENSEN,                           )
                                                 )
                     Defendant.                  )

                                         ORDER

       Defendant, Brendt A. Christensen, filed a Motion for Order Requiring the

Government to Comply With Rule 12(b)(4)(B) (#81) on July 13, 2018. The government

filed its Response (#85) on July 27, 2018, to which Defendant filed a Reply (#88) on

August 3, 2018. For the following reasons, Defendant’s motion (#81) is DENIED.

       The essence of the issue is which party is obligated to identify evidence

potentially subject to a suppression motion. Stating the issue in more practical terms,

once the government provides discovery to Defendant under Federal Rule of Criminal

Procedure 16, is the government then required to specifically identify each piece of

evidence it intends to introduce at trial so that Defendant can craft targeted motions to

suppress, or may the government simply indicate it intends to use all of the evidence,

but must indicate if it intends to use specific pieces of evidence upon inquiry by

Defendant.

       Defendant, in his motion, requests the court issue an order requiring the

government to disclose notice of any and all evidence or information, including all
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information subject to disclosure under Rule 16, in the possession, custody, or control of

the government, or the existence of which is known, or by the exercise of due diligence

could become known to the government, which evidence or information the

government presently or at any time contemplates or considers using in its case-in-chief

at the guilt or penalty phase,1 and which evidence may by the subject of a motion to

suppress evidence pursuant to Federal Rule of Criminal Procedure 12(b)(3)(C).

Defendant then identifies seven specific areas of evidence he is requesting the

government provide information on relating to use at trial.

       Defendant argues that, in order to satisfy Rule 12(b)(4)(B), the government must

provide specific evidence it intends to introduce, and cannot simply rely on all the

evidence it turned over under Rule 16 and expect Defendant to be able to comb through

that evidence and determine what motions to suppress need to be filed. Defendant

refers to the government’s policy as “open-file,” which federal courts have rejected in

the context of Rule 12(b)(4). By refusing to provide specific notice under Rule

12(b)(4)(B), Defendant argues, the government is unfairly forcing defense counsel to

defend against the entirety of the “enormous volume of government discovery in this

case, and to unnecessarily expend time and labor searching for and/or anticipating

needles in the government’s haystack” of discovery.


       1
        Rule 12(b)(4)(B) applies only to evidence the government intends to use during
its case-in-chief at trial. It does not extend to evidence the government intends to use at
the penalty phase (United States v. McCluskey, 2012 WL 13076959, at *2 (D.N.M. July 9,
2012); United States v. Nguyen, 928 F.Supp. 1525, 1550 (D. Kan. 1996)) or rebuttal. United
States v. Lujan, 530 F.Supp.2d 1224, 1246-47 (D.N.M. 2008).

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       The government responds that Rule 12(b)(4)(B) does not require the kind of

specific evidence identification Defendant seeks, and that Defendant is attempting to

get a sneak preview of the government’s trial strategy, which is improper. Further, the

government argues that it has already complied with Rule 12(b)(4)(B) by providing

Defendant with all Rule 16 discovery and offering to inform him if the government

intends to use in its case-in-chief any specific evidence that Defendant wants

suppressed.

       Federal Rule of Criminal Procedure 12(b)(4)(B) states:

       At the Defendant’s Request. At the arraignment or as soon afterward as
       practicable, the defendant may, in order to have an opportunity to move
       to suppress evidence under Rule 12(b)(3)(C), request notice of the
       government’s intent to use (in its evidence-in-chief at trial) any evidence
       that the defendant may be entitled to discover under Rule 16.

Fed.R.Crim.P. 12(b)(4)(B).2

       The one published circuit court decision to squarely address this issue comes

from the First Circuit, United States v. de la Cruz-Paulino, 61 F.3d 986 (1st Cir. 1995). In de

la Cruz-Paulino3, the defendant, prior to trial, requested pursuant to the rule that the

government designate the evidence it intended to introduce at trial. In response, the

government designated certain evidence, but never notified the defendant that it


       2
        The court does not consider the volume of discovery provided by the
government under Rule 16 to be relevant. Whether the discovery be five pages or five
million pages, the rule does not contemplate different applications based upon the
amount of discovery in question.

       Prior to the amendments in 2002, the substance of Rule 12(b)(4)(B) was
       3

contained in Rule 12(d)(2).

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intended to introduce a telephone and cardboard seized from the defendant’s car.

Nonetheless, the government referred to both pieces of evidence during opening

statements. Defendant immediately moved to exclude the telephone and cardboard

because they had not been disclosed under the rule. In response, the government

argued that it had provided the defendant with full discovery, and did not admit that it

had failed to specifically designate either piece of evidence. The trial court denied the

defendant’s motion.

       The First Circuit began its analysis by holding that the government’s “open-file”

discovery policy violated the rule, citing with approval to the district court decision in

United States v. Brock, 863 F.Supp. 851 (E.D. Wisc. 1994), stating “‘[t]o the extent that the

government’s open files contain information that is subject to Rule 16 discovery, Rule

12(d)(2) creates a notice requirement. The open file policy does not, in and of itself,

satisfy this notice requirement because it does not specify which evidence the

government intends to use at trial.’” de la Cruz-Paulino, 61 F.3d at 993, quoting Brock, 863

F.Supp. at 868. The court found the trial court erred because the defendant was still left

in the dark as to exactly what evidence, discoverable under Rule 16, upon which the

government intended to rely in its case-in-chief, and thus the government’s failure to

designate either the telephone or cardboard as evidence was a violation of the rule. de la

Cruz-Paulino, 61 F.3d at 993.

       The court went on to discuss the purpose behind the rule, stating that it is a

matter of procedure rather than a rule designed to ensure fairness at trial, and that it


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provides a mechanism for insuring that a defendant knows of the government’s

intention to use evidence to which the defendant may want to object, so that the

defendant may avoid the necessity of moving to suppress evidence which the

government does not intend to use. de la Cruz-Paulino, 61 F.3d at 993-94, citing

Fed.R.Crim.P. 12 advisory committee’s note. The court was careful to note that the rule

“was not designed to aid the defendant in ascertaining the government’s trial strategy,

but only in effectively bringing suppression motions before trial, as required by Rule

12(b)(3).” de la Cruz-Paulino, 61 F.3d at 994.

       Multiple district courts have weighed in on what obligations Rule 12(b)(4)(B)

places on the parties. The government cites to several cases in support of its position

that it has already complied with the requirements of Rule 12(b)(4)(B) and need do no

more. In United States v. El-Silimy, 228 F.R.D. 52 (D. Me. 2005), arising from a district

court within the First Circuit, the defendants moved for an order compelling the

government to give notice pursuant to Rule 12(b)(4)(B) of the evidence it intended to

use in its case-in-chief at trial. The government responded that it had already provided

the notice required in an earlier letter, when it responded that it “intend[ed] to offer

some or all of the items made available to you in discovery as evidence in its case-in-

chief at the trial of defendants.” El-Silimy, 228 F.R.D. at 57. The defendants argued that

the use of the phrase “some or all” rather than “all” rendered the response inadequate.

       After citing to the rule and the de la Cruz-Paulino decision, the court found that

the defendants were only bringing the motion for a “strategic purpose,” and that the


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defendants’ “insistence that the use of the words ‘some or all’ as opposed to merely ‘all’

makes the government’s response inadequate is without support in the authority they

cite and unreasonably expands the scope of that authority.” El-Silimy, 228 F.R.D. at 58.

The court cited to Brock, where the district court held that, while the open-file discovery

process was not the equivalent of notice under Rule 12(b)(4)(B), a statement that the

government intended to use all of the discoverable material as evidence was sufficient,

“even though ‘[o]bviously, the government might not end up using all of the

discoverable information in its files.’” El-Silimy, 228 F.R.D. at 58, quoting Brock, 863

F.Supp. at 868 & n.33. The court in El-Silimy distinguished the situation in its case and

Brock from cases cited by the defendant, where the government chose to rely solely on

the open-file policy or where the government attempted to use at trial evidence of

which it had not provided notice to the defendant. El-Silimy, 228 F.R.D. at 58.

       Another case of note cited by the government is United States v. Ishak, 277 F.R.D.

156 (E.D. Va. 2011). In Ishak, the defendants argued that the rule required the

government to specifically identify all evidence pertinent to those defendants that the

government intended to offer in its case-in-chief, which the court interpreted,

essentially, as a claim that the rule required the government to disclose its trial exhibit

and witness lists when a defendant filed a request.

       The court noted that the advisory committee note accompanying the rule made

clear that, consistent with the text, the rule’s core purpose was to ensure that a

defendant can make his motion to suppress prior to trial by requesting the government


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give notice of its intent to use specified evidence which the defendant is entitled to

discover under Rule 16. Ishak, 277 F.R.D. at 158. The court found that the rule entitled

defendants to notice of evidence that the government intended to use only insofar as

that notice would provide the defendant with sufficient information to file the necessary

suppression motions. Ishak, 277 F.R.D. at 158. Thus, the court continued, “the

government’s obligation under Rule 12(b)(4)(B) ends when it has made disclosures that

sufficiently allow the defendants to make informed decisions whether to file one or

more motions to suppress” because the rule “‘was not designed to aid the defendant in

ascertaining the government’s trial strategy, but only in effectively bringing

suppression motions before trial, as required by Rule 12(b)(3).’” Ishak, 277 F.R.D. at 158,

quoting de la Cruz-Paulino, 61 F.3d at 994. Defendants cannot invoke Rule 12(b)(4)(B) to

force the government to decide precisely which documents provided in discovery it will

offer at trial and to prevent it from using any that it does not so designate as a matter of

trial tactics. Ishak, 277 F.R.D. at 158-59.

       The court in Ishak held that what the rule did require was that “the government

respond to a defendant’s request for notice whether the government intends to offer

specific evidence that the request identifies.” Ishak, 277 F.R.D. at 159. The court wrote:

       In order to trigger a notice obligation, the defendant’s request must
       identify potentially suppressive evidence with specificity. Rule 16
       requires that the government disclose certain evidence to a defendant. The
       task of identifying what evidence discoverable under Rule 16 might be the
       rightful object of a suppression motion belongs to that defendant. Of
       course, once the defendant has flagged potentially suppressible evidence
       among the Rule 16 disclosures, filing a motion to suppress this evidence


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       would waste time and resources if the government does not intend to
       offer it. To avoid needless expense and trial disruption, Rule 12(b)(4)(B)
       allows a defendant to require that the government disclose whether the
       government intends to offer the “specified evidence” during its
       case-in-chief. The Rule thereby “streamlines the suppression process
       because the defendant can avoid moving to suppress evidence the
       Government does not intend to use.” [citations omitted]

Ishak, 277 F.R.D. at 159-60.

       These limitations, the court found, make clear that the rule is not a discovery rule

defining what material the government must produce (which is the function of Rule 16),

but rather that the rule “is a procedural and timing rule that allows a defendant who is

aware that the government is in possession of certain specific evidence—probably by

virtue of Rule 16—to require that the government disclose whether it intends to present

that evidence in its case-in-chief.” Ishak, 277 F.R.D. at 160. The court concluded that:

        It is also clear in light of the two limitations described above that
       defendants’ instant motions for Rule 12 disclosures do not satisfy the Rule
       and therefore do not trigger the government’s notice obligation
       thereunder. First, defendants appear to invoke Rule 12(b)(4)(B) for an
       improper purpose. The Rule does not exist to help defendants “prepare a
       proper and effective defense” in so broad a sense. Its purpose is far
       narrower, namely, to facilitate the timely filing of focused suppression
       motions and to avoid the needless filing of motions to suppress evidence
       that the government has no intention of presenting. Second, to the extent
       that defendants seek “to know what evidence the United States intends to
       use at trial in order to file additional motions pretrial (such as motions in
       limine),” defendants’ requests that the government designate “its
       evidence” and any “calls,” “transcripts,” and “physical evidence”
       pertaining to the defendants are insufficiently specific. Any request under
       Rule 12(b)(4)(B) must identify evidence with sufficient specificity that the
       government can readily ascertain the particular evidence referenced.
       Only then can the government effectively provide notice whether it
       intends to offer that particular evidence in its case-in-chief. The motions
       therefore fail for want of proper purpose and sufficient specificity under


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       Rule 12(b)(4)(B).

Ishak, 277 F.R.D. at 160.

       A similar result was reached in the district court case United States v. Conyers,

2016 WL 7189850 (S.D.N.Y. Dec. 9, 2016). In Conyers, the defendant argued that the rule

required early identification of all the evidence the government intended to introduce at

trial because it would be unfair, unreasonable, and “extraordinarily time consuming”

for the defense to be required to “speculate” as to what evidence the government would

ultimately use. The court rejected this argument, noting that the rule did “not impose

an obligation on the government to identify for the defense potentially ‘suppressible’

evidence, nor [did] it require the government to ‘preview’ its case.” Conyers, 2016 WL

7189850, at *10. The court stated that the rule was not intended to expand the

government’s discovery obligations under Rule 16. Conyers, 2016 WL 7189850, at *10.

While the rule does not specify what information must be included in defense counsel’s

notice to trigger the government’s obligation, in order to adhere to Rule 12(b)(4)(B)

without also unfairly expanding the government’s discovery obligations, courts have

interpreted it to require the defense to identify specific discoverable material which it

believes may be subject to a future suppression motion. Conyers, 2016 WL 7189850, at

*10. This approach furthers the rule’s underlying purpose of avoiding unnecessary

motion practice without forcing the government to reveal its trial strategy in advance.

Conyers, 2016 WL 7189850, at *10. The court concluded that the defendant’s request for

a complete accounting of “any and all” evidence the government may use at trial went


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“far beyond what would be necessary to facilitate efficient motion practice[,]” and that

“[n]otice from the government that it intends to rely on some or all of the evidence

gleaned from a search warrant would adequately inform the defense that a motion is

worth making—identification of specific evidence is unneeded.” Conyers, 2016 WL

7189850, at *10. See also United States v. Alvarez-Gonzalez, 2013 WL 4883054, at *3 (D.

Colo. Sept. 12, 2013).

       Defendant cites to several district court cases that hold a more expansive view of

the government’s obligations under Rule 12(b)(4)(B). In United States v. Anderson, 416

F.Supp.2d 110 (D.D.C. 2006), the defendant moved under Rule 12(b)(4)(B) to compel the

government to provide a notice of intent to use specified evidence in its case-in-chief at

trial. The court found that requiring the government to specify which of the material

already discoverable under Rule 16 that it intended to use in its case-in-chief allowed

the defendant to avoid the necessity of moving to suppress evidence which the

government did not intend to use. Anderson, 416 F.Supp.2d at 112. The court

continued:

       The amendments proposed by the Supreme Court and permitted by
       Congress to take effect in 1975 show that compliance with such a defense
       request is mandatory: “the government, either on its own or in response to
       a request by the defendant, must notify the defendant of its intent to use
       certain evidence in order to give the defendant an opportunity before trial
       to move to suppress that evidence.” Fed. R. Crim. P. 12, Notes of the
       Committee on the Judiciary to 1975 Enactment, Amendments Proposed by
       the Supreme Court, H.R.Rep. No. 94-247 (emphasis added); see also
       Advisory Committee Note to 2002 Amendment (in explaining
       renumbering and reorganization of subparts of the Rule, stating that
       “[t]he Committee believed that [old Rule 12(d)], which addresses the


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       government’s requirement to disclose discoverable information for the
       purpose of facilitating timely defense objections and motions, was more
       appropriately associated with the pretrial motions specified in Rule
       12(b)(3).”) (emphasis added); United States v. Norman, 2005 WL 2739082, at
       *2 (S.D. Ill. 2005) (“the government is obligated to comply with both Rule
       16 and Rule 12(b)(4)(B).”).

Anderson, 416 F.Supp.2d at 112.

       The court ordered the government to notify the defendant of the evidence that it

intended to use in its case-in-chief, i.e. “the evidence that will appear on the

government’s exhibit list for trial[,]” and held that this did not include evidence that the

government’s witnesses may have reviewed or relied on, but that the government does

not plan to offer into evidence at trial. Anderson, 416 F.Supp.2d at 112.

       In United States v. Lujan, 530 F.Supp.2d 1224 (D.N.M. 2008), the defendant moved

under Rule 12(b)(4)(B) for the disclosure of all evidence that the government

contemplated using at trial in its case-in-chief and in rebuttal, requesting disclosure of

evidence that was arguably subject to suppression, and to have the evidence specifically

identified separate and apart from the other items of discovery produced under Rule 16.

The government responded that Rule 12(b)(4)(B) did not require it to identify with

specificity what, if any, of the Rule 16 discovery was “arguably” subject to suppression.

       After discussing de la Cruz-Paulino, the Lujan court noted that the district courts

appear to be split on what the government’s notice obligations entail under Rule

12(b)(4)(B), with some courts following the First Circuit’s reasoning that an open-file

policy is not sufficient, and one court, Anderson, going so far as to hold that the notice



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must consist of “the evidence that will appear on the government’s exhibit list for trial.”

Lujan, 530 F.Supp.2d at 1245. The court then acknowledged that other courts have

concluded that the government satisfies Rule 12(b)(4)(B) where it provides notice that it

intends to offer some or all of the items made available in discovery as evidence in its

case-in-chief at trial. Lujan, 530 F.Supp.2d at 1245.

       Finding that the government was construing Rule 12(b)(4)(B) too narrowly, and

that the defendant was construing it too broadly, the court then crafted what it called a

“middle ground more in keeping with the purpose of the rule.” Lujan, 530 F.Supp.2d at

1245-46. The court found that merely relying on an open-file policy was not sufficient,

as the rule was designed to make it possible for the defense to avoid the necessity of

moving to suppress evidence that the government did not intend to use, but, on the

other hand, interpreting the rule as requiring the government to file an exhibit list, as

essentially requested by the defendants, expanded the rule too far. Lujan, 530 F.Supp.2d

at 1246. Had the rule contemplated a detailed exhibit list, it could have expressly stated

so, and the purpose of the rule was not to reveal the government’s trial strategy, but

merely to provide the defendant with sufficient information to file the necessary

suppression motions. Lujan, 530 F.Supp.2d at 1246.

       Thus, the court concluded, if the government knew that it did not intend to

introduce any evidence from a particular warrantless search or seizure, etc., then it had

to notify the defendants of this fact immediately, with a continuing obligation to

supplement, in order to avoid the necessity of the defendants moving to suppress


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evidence that would not be introduced in the government’s case-in-chief at trial. Lujan,

530 F.Supp.2d at 1246. Such notice would “meet the purpose of the rule to reduce the

needless filing of suppression motions that are not at issue, which will conserve court

resources by avoiding litigation on irrelevant searches or interviews, without requiring

the United States to disclose its trial strategy by forcing it to specify particular pieces of

evidence it intends to present.” Lujan, 530 F.Supp.2d at 1246. At least one other court

has similarly followed Lujan’s “middle ground.” See United States v. McCluskey, 2012

WL 13076959, at *2 (D.N.M. July 9, 2012).

       Having examined the case law, the court finds that the cases cited by the

government, particularly Ishak and El-Silimy, are better reasoned and more in line with

the purpose behind Rule 12(b)(4)(B). The rule was meant to allow for defendants to

prepare their motions to suppress before trial, and not waste the parties’ and court’s

time with suppression motions made during trial, or to force defendant to file motions

to suppress on evidence the government had no intention of using. de la Cruz-Paulino,

61 F.3d at 994.

       Therefore, it makes sense for the government to be required, under Rule

12(b)(4)(B), to give notice of the use of a specific piece of evidence upon specific inquiry

from the defendant about that piece of evidence. Conyers, 2016 WL 7189850, at *10;

Ishak, 277 F.R.D. at 160. The rule was not designed, however, to aid the defendant in

ascertaining the government’s trial strategy. de la Cruz-Paulino, 61 F.3d at 994. This

court would be doing just that if it adopted the Anderson court’s approach, which would


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essentially require the government to turn its exhibit list over to the defendant. See

Anderson, 416 F.Supp.2d at 116.

       The court also agrees with the court in Ishak that the holding in Anderson is

unpersuasive, as it ignores the text, purpose, and proper relationship of Rule 12(b)(4)(B)

to Rule 16. Ishak, 277 F.R.D. at 159 n.2. There is no language in Rule 12(b)(4)(B) to

support the Anderson holding. The court finds that adopting such an expansive view of

Rule 12(b)(4)(B) would essentially force the government to divulge its trial strategy to

the defendant ahead of trial, in violation of the purpose of the rule. It would also make

Rule 16 obsolete, because it would turn Rule 12(b)(4)(B) into a discovery rule, defining

what material the government must produce to defendant. See Ishak, 277 F.R.D. at 160.

If the drafters of the rule intended to subsume Rule 16 within Rule 12(b)(4)(B) they

could have clearly done so, but they did not.

       The court likewise does not find persuasive the “middle ground” approach

found in Lujan. The court agrees with Ishak that this “middle ground” approach still

improperly places the obligation on the government to “notify continually what

evidence disclosed under Rule 16 the government does not intend to use in its case in

chief,” and that “[t]his understanding fails to consider that, for purposes of Rule

12(b)(4)(B), a defendant needs to know that the government does not intend to offer

particular evidence only if the defendant contemplates moving to suppress that

evidence.” Ishak, 277 F.R.D. at 159 n.3.

       Here, the government states that it has informed Defendant that, at this point, it


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intends to use all of the evidence at trial. This was the same situation facing the district

courts in Brock and El-Silimy. In Brock, the government stated that it intended “to use all

the material discoverable under Rule 16, access to which has been or will be provided to

[the defendant] under its open-file policy, as evidence in chief at trial.” Brock, 863

F.Supp. at 868. The district court, while noting that the open-file policy does not, in and

of itself, satisfy this notice requirement because it does not specify which evidence the

government intends to use at trial,4 held that the defendants’ motion was moot because

“the government [] provided notice of its intent to use all of the evidence in its open file

that [was] subject to Rule 16.” Brock, 863 F.Supp. at 868 (emphasis in original); see also

El-Silimy, 228 F.R.D. at 57. The court, in a footnote, wrote:

       Obviously, the government might not end up using all of the discoverable
       information in its files. At this time, however, the court has no reason to
       doubt the sincerity of the government’s statement. Moreover, it is
       important to remember that the purpose of Rule 12(d)(2) is to give the
       defendants an opportunity to move to suppress evidence. The
       government’s notice in this case simply alerts the defendants to the fact
       that they should look at all of the discoverable material in the open file in
       considering any motion to suppress.

Brock, 863 F.Supp. at 868 n.33.

       Further, the court finds that circumstances of the instant case are distinguishable

from those facing the First Circuit in de la Cruz-Paulino. Here, the government has

provided all of its evidence discoverable under Rule 16 to Defendant, and has stated

that it intends to use all of the evidence at trial and, at this time, the court has no reason


       It should be noted that Brock was cited with approval by the First Circuit in de la
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Cruz-Paulino on this basis. See de la Cruz-Paulino, 61 F.3d at 993.

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to doubt the sincerity of the government’s statement, thus putting Defendant on notice

to the fact that he should look at all of the discoverable material provided in considering

any motion to suppress. See Brock, 863 F.Supp. at 868 n.33. By contrast, in de la Cruz-

Paulino, the government specified certain evidence, but omitted two particular pieces of

evidence. de la Cruz-Paulino at 992. Thus, in that case, the error was in the government

being under-inclusive rather than over-inclusive in its notice. See Lujan, 530 F.Supp.2d

at 1246 n.3.

       The government has provided notice pursuant to Rule 12(b)(4)(B) that it intends

to use all of the evidence it provided in Rule 16 discovery during its case-in-chief at

trial. If Defendant identifies specific evidence he desires to suppress, he may notify the

government, and the government is required to confirm with Defendant whether that

evidence will be used during its case-in-chief at trial pursuant to Rule 12(b)(4)(B).

Defendant’s motion (#81) is DENIED.

       IT IS THEREFORE ORDERED:

       Defendant’s Motion for Order Requiring the Government to Comply With Rule

12(b)(4)(B) (#81) is DENIED.

               ENTERED this 16th day of August, 2018.



                                   s/ COLIN S. BRUCE
                                  U.S. DISTRICT JUDGE




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